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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Ronald H. Pratte,                               No. CV-19-00239-PHX-GMS
10                  Plaintiff,                       ORDER
11   v.
12   Jeffrey Bardwell, et al.,
13                  Defendants.
14
15
16          Pending before the Court is Defendant’s Motion to Continue Fact Discovery and

17   All Deadlines (Doc. 40). Although unopposed, the Court notes this is the Fourth Request
18   to extend the deadlines set forth in the Case Management Order (Doc. 14), as modified by

19   the Court’s Orders (Docs. 29, 37, 39). Accordingly,

20          IT IS HEREBY ORDERED granting the Unopposed Motion to Modify (Doc. 40).
21   The deadlines set forth in the April 12, 2019 Case Management Order (Doc. 14), as
22   modified by the Court’s October 8, 2019 Order (Doc. 29), January 27, 2020 Order (Doc.

23   37 and February 24, 2020 Order (Doc. 39) amending certain deadlines, are extended for

24   sixty (60) days.

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 1         IT IS FURTHER ORDERED the parties shall file a Joint Status Report and
 2   proposed scheduling dates on or before April 20, 2020.
 3         Dated this 20th day of March, 2020.
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